Case 2:19-cv-08929-DSF-E Document 11 Filed 12/13/19 Page 1 of 2 Page ID #:41




 1 Ahren A. Tiller Esq. [SBN: 250608]
     BLC Law Center, APC
 2 1230 Columbia St., Ste 1100
     San Diego, CA 92101
 3 Phone (619) 894-8831
     Facsimile: (866) 444-7026
 4
     Attorneys for Plaintiff
 5 TIMOTHY DAWSON

 6

 7

 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10
                                                       Case No.: 2:19-cv-08929-DSF-E
11
     TIMOTHY DAWSON
12                                                     NOTICE OF SETTLEMENT
                      Plaintiffs,
13
            v.
14
                      Defendants,
15

16
     ONEMAIN CONSUMER LOAN, INC.;
17   AND ONEMAIN FINANCIAL GROUP,                      Judge: Hon. Dale S. Fischer
     LLC
18                                                     Magistrate: Hon. Charles F. Eick
19

20

21

22         TO THE HONORABLE COURT, TO ALL PARTIES HEREIN, AND TO
23 THEIR RESPECTIVE COUNSEL OF RECORD: PLEASE TAKE NOTICE that

24 TIMOTHY DAWSON (“Plaintiff”) and ONEMAIN CONSUMER LOAN, INC.;

25 AND ONEMAIN FINANCIAL GROUP, LLC., (“Defendants”) have agreed to terms

26 to settle all claims herein, subject to the full execution of a confidential agreement.

27         Plaintiff intends to file a request for dismissal with prejudice as to all
28 Defendants within thirty (30) days or less. In light of the settlement, Plaintiff
                                                  -1-
                                          Notice of Settlement
Case 2:19-cv-08929-DSF-E Document 11 Filed 12/13/19 Page 2 of 2 Page ID #:42




 1 respectfully requests the Court take off calendar all future hearings and deadlines in

 2 this case.

 3

 4 Dated: December 13, 2019                         by: /s/ Ahren A. Tiller
                                                        Ahren A. Tiller
 5                                                      BLC Law Center, APC
                                                        Attorney(s) for Plaintiff
 6

 7

 8
 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
                                                -2-
                                        Notice of Settlement
